     Case 3:19-cr-00083-M Document 312 Filed 06/11/21       Page 1 of 6 PageID 3479



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )   No. 3:19-cr-083-M-1
                                            )   Chief Judge Barbara M. G. Lynn
RUEL M. HAMILTON                            )
                                            )




                          MR. HAMILTON’S EXHIBIT LIST




Abbe David Lowell, Bar No. 358651DC             Dion J. Robbins, Bar No. 24114011TX
Christopher D. Man, Bar No. 453553DC            WINSTON & STRAWN LLP
Kaitlin A. Pierce, Bar No. 242020DC             2121 N. Pearl Street, Suite 900
WINSTON & STRAWN LLP                            Dallas, TX 75201
1901 L Street, NW                               DRobbins@winston.com
Washington, DC 20036                            214-453-6100 (ph)
ADLowell@winston.com                            214-453-6400 (fax)
202-282-5000 (ph)
202-282-5100 (fax)

                         Counsel for Defendant Ruel M. Hamilton
Case 3:19-cr-00083-M Document 312 Filed 06/11/21           Page 2 of 6 PageID 3480




Ex. #                 Document Description                 Offered      Admitted

D-0001   Photo of 4547 Utah Ave., Dallas, TX


D-0002   12/15/2016 – DISD Board Meeting Minutes


D-0003   1/18/2017 – “Doing More in District 4” Award

         1/18/2017 – Video “Doing More in District 4”
D-0004
         Award

         2/8/2018 – Susan B. Anthony Award - League of
D-0005
         Women Voters of Dallas

D-0006   2/8/2018 – Susan B. Anthony Award Video

         6/15/2018 – Support for Minority Candidates
D-0007
         Award

         Summary Chart of Ruel Hamilton’s Campaign
D-0008
         Contributions

D-0010   Campaign Contributions – FEC Data

         Campaign Contributions – TX Ethics Commission
D-0011
         Spreadsheet

D-0012   Campaign Contributions – Check Images


D-0013   Summary Chart of Political Activities


D-0014   Calendars 2012-2018

         Summary Chart of Amerisouth Real Estate
D-0015
         Properties

D-0016   Supporting Documents for Property Summary Chart


D-0017   Bachman Glen Property Photos




                                                 1
Case 3:19-cr-00083-M Document 312 Filed 06/11/21            Page 3 of 6 PageID 3481


Ex. #                 Document Description                  Offered      Admitted
         Bachman Glen Property Photos
D-0018
         (construction ~ Mar. 2004 - Mar. 2005)

D-0019   Eastfield Property Photos

         Eastfield Property Photos
D-0020
         (construction ~ Oct. 2000 - Oct. 2001)

         8/29/2014 – $1,905,000 Promissory Note from
D-0021
         Southwest Bank.

D-0022   2015 Qualified Allocation Plan (QAP)


D-0023   10/17/2014 – Memorandum to Housing Committee


D-0024   Notice of Funding Availability (NOFA)

         1/13/2015 – Dallas Housing Finance Corporation
D-0027
         (DHFC) Meeting Minutes

D-0028   1/302015 – Memorandum to Housing Committee


D-0029   2/2/2015 – Housing Committee Meeting Record


D-0030   2/2/2015 – Video of Housing Committee Meeting

         2/25/2015 – Dallas City Council Resolution –
D-0032
         Item 77

         2/25/2015 – Dallas City Council Resolution –
D-0033
         Addendum Item 30

D-0034   2/25/2015 – Video of Dallas City Council Meeting


D-0037   Summary Chart of Expenses for Royal Crest


D-0038   Documentation of Expenses for Royal Crest


D-0039   Summary Chart of Expenses for Good Haven


                                                  2
Case 3:19-cr-00083-M Document 312 Filed 06/11/21            Page 4 of 6 PageID 3482


Ex. #                 Document Description                  Offered      Admitted

D-0040   Documentation of Expenses for Good Haven


         11/18/2013 – Email from Ruel Hamilton to Carolyn
D-0045
         Davis

         11/22/2013 – Email from Renita Griggs to Ruel
D-0046
         Hamilton

D-0047   11/25/2013 – Video of FRT Bus


D-0058   Checks for Freedom Ride Tours


D-0059   FRT Book – 9/26/2014


D-0060   FRT Book – 9/25/2014 – 9/26/2014


D-0061   MLK Day Parade Photo


D-0085   Ruel Hamilton’s Phone Records


D-0090   Carolyn Davis’s 2015-2018 Form-1099s


D-0091   Bonnie View Renderings


D-0092   12/13/2016 – Invoice from Joseph Anthony

         1/11/2017 – Letter from Carolyn Davis to David
D-0093
         Cossum

D-0094   2016/2017 – Photos TBAAL Gala


D-0096   Reserved

         7/16/2018 and 8/2/2018 Text Messages between
D-0097
         Chris Hamilton and Philip Kingston

         8/1/2018–8/15/2018 Text Messages between Chris
D-0098
         Hamilton and Kimberly Olsen


                                               3
Case 3:19-cr-00083-M Document 312 Filed 06/11/21           Page 5 of 6 PageID 3483


Ex. #                 Document Description                 Offered      Admitted

D-0099   8/1/2018 – Video of Paid Sick Leave Rally

         8/22/2018 – Check from Ruel Hamilton to Texas
D-0100
         Organizing Project (TOP) PAC for $25,000

         10/20/2014 – Email forwarded from Renita Griggs
D-0125
         to Ruel Hamilton

         11/19/2014 – Email from Renita Griggs to Ruel
D-0126
         Hamilton

         12/3/2014 – Email from Carolyn Davis to Ruel
D-0127
         Hamilton and others

         3/10/2015 – Email from Renita Griggs to Ruel
D-0128
         Hamilton and others

         3/31/2015 – Email from Renita Griggs to Ruel
D-0129
         Hamilton and others

         4/15/2015 – Email from Renita Griggs to Ruel
D-0130
         Hamilton and others

         5/22/2015 – Email from Renita Griggs to Ruel
D-0131
         Hamilton and others

         5/28/2015 – Email forwarded from John Hamilton
D-0132
         to Ruel Hamilton

         10/7/2015 – Email from Carolyn Davis to Ruel
D-0133
         Hamilton

D-0134   3/27/2016 – Facebook Email Notice


D-0135   6/7/2016 – Facebook Email Notice




                                               4
  Case 3:19-cr-00083-M Document 312 Filed 06/11/21                  Page 6 of 6 PageID 3484



Dated: June 11, 2021

                                      Respectfully submitted,

/s/ Abbe David Lowell
Abbe David Lowell, Bar No. 358651DC                   Dion J. Robbins, Bar No. 24114011TX
Christopher D. Man, Bar No. 453553DC                  WINSTON & STRAWN LLP
Kaitlin A. Pierce, Bar No. 242020DC                   2121 N. Pearl Street, Suite 900
WINSTON & STRAWN LLP                                  Dallas, TX 75201
1901 L Street, NW                                     DRobbins@winston.com
Washington, DC 20036                                  214-453-6100 (ph)
ADLowell@winston.com                                  214-453-6400 (fax)
202-282-5000 (ph)
202-282-5100 (fax)

                            Counsel for Defendant Ruel M. Hamilton




                                 CERTIFICATE OF SERVICE

       I certify that on June 11, 2021, a copy of the foregoing was filed with the Court’s electronic

case filing system, thereby effecting service on counsel for all parties.

                                      /S/Abbe David Lowell
                                      Abbe David Lowell




                                                 5
